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                   LEE LITIGATION GROUP, PLLC
                           24 west 24th Street, eighth Floor
                                   New York, NY 10011
                                     Tel: 212-465-1180
                                     Fax: 212-465-1181
                                info@leelitigation.com

WRITER’S DIRECT:        (212) 465-1188
                        cklee@leelitigation.com
                                                                              February 19, 2021
Via ECF
The Honorable Paul G. Gardephe, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

                        Re:     Stewart v. Hudson Hall LLC et al.
                                Case No.: 20-cv-0885

Dear Judge Gardephe:

           We are counsel to Plaintiff in the above-captioned case. We write to request a pre-
motion conference pursuant to Your Honor’s Individuals Rules § IV.A for Plaintiff Stewart’s
anticipated motion for summary judgment, which will accompany his motion for class
certification pursuant to Fed. R. Civ. P. 23.

          Plaintiff, who worked as a line cook at Defendants’ “Mercado Little Spain” restaurant,
brought this action to seek unpaid wages under the Fair Labor Standards Act (“FLSA”) and the
New York Labor Law (“NYLL”), alleging that Defendants time-shaved him and Class members
and failed to pay them proper overtime premiums.

           Based on the record developed during discovery, including deposition testimonies of
three of Defendants’ representatives and employment records, Plaintiff will demonstrate that (i)
there is no genuine dispute of material fact with respect to issues of class liability with respect to
most of Defendants’ time-shaving practices and their violations of the Wage Theft Prevention
Act (“WTPA”), and (ii) there is no genuine question of material fact that Defendants are liable to
Plaintiff for unpaid overtime premiums. As per Your Honor’s individual rules, Plaintiff sought
Defendants’ consent to the filing of his anticipated summary judgment motion, but Defendants
declined to provide it.

   A.     Time Shaving

          1.       Compensability of Breaks Lasting Twenty (20) Minutes or Less.

       Both the NYLL and the FLSA provide that breaks lasting twenty minutes or less are
compensable. See Perez v. Wells Fargo & Co., 2016 U.S. Dist. LEXIS 104385, *8, 2016 WL
4180190 (N.D. Cal. Aug. 8, 2016). However, Defendants’ discovery production revealed four
separate occasions when Plaintiff was not compensated for such breaks. And the deposition
testimony of Defendants’ representatives confirmed that this was Defendants’ official policy
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with respect to Class members generally. Asked “And you’re not paid for the 15 minutes that
you’re on break, then, correct?”, Mercado’s executive manager Michael Principe responded
“Yes, correct.” Dep. 106:18-21. The combined evidence leaves no question that Defendants
failed to compensate the entire Class for breaks lasting twenty minutes or less.

         2.     Compensability of Preliminary and Postliminary Work

        Plaintiff and Class members spent significant amounts of time changing into uniforms in
Defendants’ locker room and then walking to the workstations where they could clock in. While
the parties do not agree on how long this took exactly, there is no question that it was at least five
minutes, given Defendants’ own representations: “Q. How much time do you think it would be
from the time a person walks into the door through the time that they're able to punch in? A. To
where they're working? Five minutes.” Principe Dep. 87:9-14. Defendants do not dispute that
this time, however long it was, went uncompensated.

       It should have been compensated, however. Plaintiff and Class members had no choice
but to change into their uniforms in an overcrowded locker room before they could begin
working: “Q. But everybody else that was working at Mercado Little Spain, they have to go
through the entrance, right, on 30th Street between 10th and 11th Avenue, walk to the locker
room, wait because other people are changing. And then once other people finish changing and
then they change, then they can walk to their individual punch-in/punch-out clock at their
workstation, right? A. Yes.” Principe Dep. 86: 16 – 87:2. There is therefore no question that this
process was “integral and indispensable” to employees’ “principal activity,” making it
compensable under applicable laws. See Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1042
(2016) (the FLSA “requires employers to pay employees for activities ‘integral and
indispensable’ to their regular work, even if those activities do not occur at the employee’s
workstation”) (quoting Steiner v. Mitchell, 76 S. Ct. 330 (1956)); Perez v. City of New York, 832
F.3d 120, 124 (2nd Cir. 2016) (“An employer’s requirement that pre-or post-shift activities take
place at the workplace may indicate that the activities are integral and indispensable to an
employee’s duties.”).

         3.     Additional Pre-Shift Off-the-Clock Work

        Regardless of the above, there is no question that Plaintiff and Class members were
required to perform pre-shift off the clock work after they left the locker room but before they
reached their workstations to clock in. Plaintiff attests to this, and his recollection was confirmed
by Defendants’ representative: “Q. Would it be possible that you would -- an employee would
see other employees near the locker room and somebody tell them, oh, can you pick up this and
that for me on your way back to the workstation? That's possible, right? A.” Sure. Principe Dep.
81:24 – 82:6.


   B. Unpaid Overtime Premiums

     Defendants failed to pay Plaintiff and Class members proper overtime premiums.
However, Plaintiff intends to seek summary judgment on Defendants liability for such to him

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individually and leaves the claims of other Class members for trial. As to Plaintiff, one of his
paystubs clearly showed him working over forty (40) hours per week at a straight-time rate.
Defendants have argued that what may appear as overtime hours were in fact retroactive straight-
time hours for the previous week. But since Plaintiff had already been compensated for forty (40)
hours the previous week, this explanation, even if true, cannot eliminate Defendants’ liability.

    C. Wage Notices and Wage Statements under the WTPA

        At all times, Defendants failed to provide proper wage and hour notices to Plaintiff and
Class members. While it appears that Defendants generated these digitally, Plaintiff and Class
members were never informed of how to obtain them. Nor were they provided with the proper
means of obtaining them, since the New York Department of Labor has determined that wage
and hour notices may be given electronically only if there is “a system where the worker can
acknowledge the receipt of the notice and print out a copy of the notice.”1 It is Defendants’
burden to prove compliance, and they cannot do so. See 12 N.Y.C.R.R. § 146-2.2 (the “employer
has the burden of proving compliance” with the WTPA).

         The wage statements Defendants provided to Plaintiff and Class members were
inaccurate because they did not reflect time-shaved off-the-clock work. Thus, Defendants’
failure to provide proper wage statements is as readily provable as their time shaving.

       We thank Your Honor for considering our request for a pre-motion conference.


Respectfully submitted,

/s/ C.K. Lee
C.K. Lee, Esq.


cc: all parties via ECF




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     https://www.labor.ny.gov/workerprotection/laborstandards/PDFs/wage-theft-prevention-act-
faq.pdf.

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